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                                  UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF MARYLAND

                                        BALTIMORE DIVISION


                                                           *
 SECURITIES AND EXCHANGE                                   *
 COMMISSION,                                               *
                                                           *
                     Plaintiff,                            *   Civil Action No.:
                                                           *   1:23-cv-00841-JRR
                                  v.                       *
                                                           *
  PRINCETON ALTERNATIVE FUNDING,                           *   Case in District of New Jersey:
  LLC, MICROBILT CORPORATION, PHILIP N.                    *   3:21-cv-12971-ZNQ-RL
  BURGESS, WALTER WOJCIECHOWSKI, and                       *
  JOHN COOK, JR.,                                          *
                                                           *
                     Defendants.
                                                           *

                                       NOTICE OF APPEARANCE

       To: The clerk of court and all parties of record:

       I am admitted or otherwise authorized to practice in this court, and I appear in this case as

local counsel for:

       PRINCETON ALTERNATIVE FUNDING, LLC,

       MICROBILT CORPORATION,

       PHILIP N. BURGESS,

       WALTER WOJCIECHOWSKI, and

       JOHN COOK, JR.,

Defendants in the above-styled matter.



                                         [Signature Page Follows]




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                                         Respectfully submitted,

                                         ARNALL GOLDEN GREGORY LLP


                                         /s/ Jeffrey S. Jacobovitz              s
                                         Jeffrey S. Jacobovitz (MD Bar: # 8802040010)
Dated: May 25, 2023                      2100 Pennsylvania Avenue NW
                                         Suite 350S
                                         Washington, DC 20037
                                         Telephone: 202.677.4030
                                         Facsimile: 202.677.4031

                                         Attorneys for Defendants




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                                 CERTIFICATE OF SERVICE



       I HEREBY CERTIFY that on this 25th day of May, 2023, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will automatically transmit

notice and service copies to all counsel of record.

                                                      /s/ Jeffrey S. Jacobovitz
                                                Jeffrey S. Jacobovitz




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